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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

CARLA HOOVER, et al.,
                                                    Case No. 2:19-cv-1453
                        Plaintiffs,
                                                    Judge George C. Smith
          v.
                                                    Magistrate Judge Kimberly A. Jolson
STEVEN G. ROSSER, et al.,
                                                           NOTICE OF APPEARANCE
                        Defendants.
                                                                OF COUNSEL



          Please take notice that Westley M. Phillips, Assistant City Attorney, Ohio Registration

No. 0077728, hereby enters his appearance as counsel for Defendant City of Columbus in this

matter.

                                              Respectfully submitted,
                                              /s/ Westley M. Phillips
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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on September 17, 2019, I electronically filed the foregoing with the

Clerk of the Court by using this Court's e-Filing System, which will send a notice of this

electronic filing to the following individuals:

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